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AO 93 (Rev. 12/09) Search nnd Seizure Warrant (Page 2)

                                                                     Return
Case No.:                              Date and time warrant executed:                 Copy of warrant and inventory left with:
 2:19-cr-889                               eJ /-1-,(1'(.            ';]'.Ou;,,.,,._,
Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:



                                                          J.,J-"-        ~770 l ,-o.-J... (j_     w.-~

                                                         /1/ia{k • A---tY h-0(             A1c"v1s




                                                                Certification


           J declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



        /D_/_a-_t_l_t__c.1__
Date: _ _
                                                                                                  rvi~;h
                                                                                                Exec~----


                                                                                       7C.tvt~,{ J(£.1                   5#
                                                                                                Printed name and title
